

ORDER

PER CURIAM.
AND NOW, this 19th day of May, 2003, it appearing that Mark E. Steiner, a member of the Bar of this Commonwealth, has been suspended from the practice of law in the State of Delaware for a period of three years by Order of the Supreme Court of Delaware dated February 27, 2003; and the said Mark E. Steiner having stated that he has no objection to the imposition of reciprocal discipline in this Commonwealth in accordance with Rule 216, Pa. R.D.E., it is
ORDERED that Mark E. Steiner is suspended from the practice of law in this Commonwealth for a period of three years retroactive to August 1, 2002, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
